 1    LAW OFFICES
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 2    A PROFESSIONAL CORPORATION
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 6
      Howard A. Chorost, Esq.
 7    State Bar of Arizona No. 012663
 8    Attorney for Creditor: Vantage West Credit Union
 9
 10                          IN THE UNITED STATES BANKRUPTCY COURT
 11                                   FOR THE DISTRICT OF ARIZONA
 12
 13                                                        Chapter 13 Proceedings
      In re:
 14
                                                           Case No. 2:20-bk-02180-MCW
      Anthony T Alfred and Andrea Lynn Alfred,
 15
                                                           OBJECTION TO CONFIRMATION
 16                                                        OF DEBTORS PROPOSED
                                                           CHAPTER 13 PLAN
 17                                 Debtor.
                                                           Re: Docket Entry 6
 18
               Creditor Vantage West Credit Union enters an Objection to Confirmation of
 19
      Debtors proposed Chapter 13 Plan filed March 3, 2020 under Docket Entry 6.
 20
               Creditor is secured by a purchase money security interest in a 2017 Dodge
 21
 22   Durango. Copies of the Contract and perfected lien holder record are attached as

 23   Exhibits “A” and “B,” respectively. Debtor past due in the amount of approximately

 24   $1,531.16. The Principal Balance owing is $36,413.73.
 25            Upon information and belief, Creditor alleges that the replacement value of the
 26   subject collateral is approximately $26,436.00. A copy of a Kelly Blue Book Valuation is
 27   attached as Exhibit “C.”
 28
                                                        -1-
       ______________________________________________________________________________________________________


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 1           Creditor objects to Debtors attempt to cram down the value of the vehicle to
 2    $21,000.00. Creditor further objects to the proposed amount as and for monthly pre-
 3    confirmation adequate protection payments of $200.00.
 4           Creditor requests that valuation be fixed at $26,436.00 and that Debtor be required
 5
      to tender monthly pre-confirmation adequate protection payments in the amount of
 6
      $264.36.
 7
             Wherefore, Creditor Vantage West Credit Union respectfully requests that
 8
      Confirmation be denied.
 9
             Respectfully Submitted: April 3, 2020.
 10
 11                                                  HOWARD A. CHOROST, P.C.

 12                                                  /s/ Howard A. Chorost, AZ Bar No. 012663

 13                                                  Howard A. Chorost
                                                     Attorney for Creditor
 14                                                  Vantage West Credit Union
 15   Copy of the forgoing mailed/emailed to:
 16   ANTHONY T ALFRED
      ANDREA LYNN ALFRED
 17   13728 W RANCHO DR
      LITCHFIELD PARK, AZ 85340
 18
 19   THOMAS ADAMS MCAVITY
      PHOENIX FRESH START BANKRUPTCY ATTORNEYS
 20   4602 E Thomas Rd, Ste S-9
      PHOENIX, AZ 85028
 21   Email: tom@nwrelief.com
      melissa@nwrelief.com
 22
 23   RUSSELL BROWN
      CHAPTER 13 TRUSTEE
 24   SUITE 800
      3838 NORTH CENTRAL AVENUE
 25   PHOENIX, AZ 85012-1965
 26   Email: ecfmailclient@ch13bk.com

 27   /s/ Howard A. Chorost, AZ Bar No. 012663

 28   Howard A. Chorost
                                                        -2-
       ______________________________________________________________________________________________________


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              EXHIBIT “A”




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              EXHIBIT “B”




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                                                 Lien and Title Information Report
                                                      3254-VANTAGE WEST CREDIT UNION



Account No.                                                                 VIN                          1C4RDHDG7HC648866
Loan No.                                                                    Branch
Loan Suffix
Customer                                ANTHONY T ALFRED
Organization ID                         3254                                Organization Name            VANTAGE WEST CREDIT UNION
Lien Start                              02/15/2017                          Lien End
Original Loan Amount                    $                                   Lien Balance Amount          $
Lien Type                               Retail                              Dealer ID




                                                               Last ELT Transactions

Received On
2017-03-01 12:55:32.0                                                        Add Record - Perfection of Lien


                                                               Borrower / Lesee Details

Name                             ANTHONY T ALFRED
                                 ANDREA S ALFRED

Address                          13728 W RANCHO DR,LITCHFIELD PARK AZ,85340


                                                                 Vehicle Information

Vehicle Type                     Auto                                     Make                                    DODGE
Model                            DURANGO                                  Year                                    2017
Mileage                          0


                                                                  Title Information

Title Number                                675H017059023                          Title State            AZ
Tag Number                                                                         VIN                    1C4RDHDG7HC648866
Status                                      MATCHED                                Match Date             03/01/2017
Lien Expiration Date                                                               Media Type                Electronic




                                                                  State Information

Name                             ALFRED, ANTHONY TODD                            Lessee
                                 ALFRED, ANDREA SMITH

Address                          13728 W RANCHO DR,LITCHFIELD PARK
                                 AZ,853407375
Vehicle Type                                                                     Make                    DODG
Model                            DUR                                             Year                    2017
Mileage                          72
Title State                      AZ                                              Title Number            675H017059023
Brands


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              EXHIBIT “C”




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                                                                                    Reasonable Market Value Report
                                                                                                                Report Date: 04/02/2020
                                                                                        Effective Dates:

                            REASONABLE MARKET VALUE OF THIS VEHICLE
                               2017 Dodge Durango GT Sport Utility 4D
             VIN: 1C4RDHDG7HC648866                                            Reference:

                                                             Base Value:                                                               $28,706

        Value as of: 03/03/2020                              Engine: V6, 3.6 Liter                                                    Included
        Zip Code: 85340                                      Transmission: Automatic, 8-Spd                                           Included
        Condition: Good                                      Drivetrain: RWD                                                          $(1,052)
                                                             Mileage: 60,000                                                          $(1,388)
                                                             Color:

                                                           Itemized Equipment
 Power Liftgate Release                            Included                        Navigation System                                     Included
 Hill Start Assist Control                         Included                        Bluetooth Wireless                                    Included
 Traction Control                                  Included                        Uconnect                                              Included
 Electronic Stability Control                      Included                        ParkSense Park Assist                                 Included
 ABS (4-Wheel)                                     Included                        Backup Camera                                         Included
 Alarm System                                      Included                        Dual Air Bags                                         Included
 Keyless Entry                                     Included                        Side Air Bags                                         Included
 KEYLESS-GO                                        Included                        F&R Head Curtain Air Bags                             Included
 Air Conditioning                                  Included                        Knee Air Bags                                         Included
 Air Conditioning, Rear                            Included                        Heated Seats                                          Included
 Power Windows                                     Included                        Dual Power Seats                                      Included
 Power Door Locks                                  Included                        Leather                                               Included
 Cruise Control                                    Included                        Third Row Seat                                        Included
 Power Steering                                    Included                        Daytime Running Lights                                Included
 Tilt & Telescoping Wheel                          Included                        Fog Lights                                            Included
 AM/FM Stereo                                      Included                        Roof Rack                                             Included
 CD/MP3 (Single Disc)                              Included                        Towing Pkg                                                 $170
 SiriusXM Satellite                                Included                        Oversized Premium Wheels 20"+                         Included

                                                                                            Total Itemized Equipment:                       $(882)
Reasonable Market Value = Kelley Blue Book® Typical Listing*:                                                                          $26,436
(Including Color, Mileage and Itemized Equipment)


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